

People v Parsley (2019 NY Slip Op 00469)





People v Parsley


2019 NY Slip Op 00469


Decided on January 23, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 23, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
LEONARD B. AUSTIN
HECTOR D. LASALLE
BETSY BARROS, JJ.


2012-07116
 (Ind. No. 10-00611)

[*1]The People of the State of New York, respondent,
vCharles Parsley, appellant.


Green &amp; Willstatter, White Plains, NY (Theodore S. Green of counsel), for appellant.
Anthony A. Scarpino, Jr., District Attorney, White Plains, NY (Raffaelina Gianfrancesco, William C. Milaccio, and Steven A. Bender of counsel), for respondent.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated May 10, 2017 (People v Parsley, 150 AD3d 894), affirming a judgment of the Supreme Court, Westchester County, rendered June 26, 2012.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
BALKIN, J.P., AUSTIN, LASALLE and BARROS, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








